
80 So.3d 414 (2012)
Jeffrey Phillip LIGHT, Appellant,
v.
STATE of Florida, Appellee.
No. 1D11-3735.
District Court of Appeal of Florida, First District.
February 14, 2012.
Peggy-Anne O'Connor and Ronald D. Kozlowski, Gainesville, for Appellant.
Pamela Jo Bondi, Attorney General, and Jennifer J. Moore, Tallahassee, for Appellee.
PER CURIAM.
Jeffrey Phillip Light appeals an order denying his petition to seal criminal records. Because the trial court failed to hold an evidentiary hearing or cite facts and circumstances justifying denial, we reverse and remand for further proceedings. See Johnson v. State, 336 So.2d 93, 95 (Fla.1976); Cole v. State, 941 So.2d 549, 550 (Fla. 1st DCA 2006).
REVERSED and REMANDED.
BENTON, C.J., DAVIS and MARSTILLER, JJ., concur.
